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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

MARY ANN LAZAR,
Plaintiff,
vs. Civ. No. 03-2868-B[P

EZPAWN TENNESSEE, INC.,

Defendant.

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ORDER DENYING DEFENDANT'S MOTION TO DISQUALIFY PLAINTIFF'S
COUNSEL

 

Before the court is defendant's Motion to Disqualify
Plaintiff‘s Counsel, filed July 22, 2005 (dkt #23). In the motion,
defendant seeks to disqualify counsel on the basis that counsel,
Thomas D. Yeaglin, will be a Witness at trial. Specifically,
defendant argues that as part of the plaintiff's complaint for
punitive damages, she claims that Mr. Yeaglin attempted several
times to contact defendant's representatives, but did not receive
any return telephone calls. Defendants contend that if the
plaintiff intends to present proof at trial regarding Mr. Yeaglin's
efforts to contact the defendant, Mr. Yeaglin will be a trial
Witnesss and, thus, should be disqualified as trial counsel. On
August l, 2005, the plaintiff filed her response in opposition to

the motion. On September l, 2005, the court held a hearing on the

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motion. Counsel for all interested parties were present and heard.
At the hearing, Mr. Yeaglin stated that he will not testify as a
witness at trial, and will not present any evidence to show that he
tried to contact the defendant's representatives. Instead, Mr.
Yeaglin intends to question defendant's representatives about
whether they tried to call or wake contact with plaintiff or
plaintiff‘s counsel. Mr. Yeaglin may also attempt to admit
telephone records regarding incoming calls (or the lack thereof) to
his law office. Based on Mr. Yeaglin's statement that he will not
present any evidence, through his testimony or otherwise, that he
contacted` or tried. to contact defendant's representative, the
motion to disqualify is DENIED.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date \

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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Louis J. Miller

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Honorable J. Breen
US DISTRICT COURT

